       Case 6:15-cv-01517-AA      Document 600     Filed 05/01/24   Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

                                   EUGENE DIVISION




KELSEY CASCADIA ROSE                                       Civ. No. 6:15-cv-01517-AA
JULIANA, et al.,
                                                           ORDER
            Plaintiffs,

      v.

UNITED STATES OF AMERICA,
et al.,

            Defendants.

____________________________________

AIKEN, District Judge:

      The United States Court of Appeals for the Ninth Circuit has instructed this

Court to dismiss this case for lack of Article III standing. United States of America,

et al. v. United States District Court for the District of Oregon, Eugene, et al., Case

No. 24-684, Doc. 24.      Therefore, this case is DISMISSED.        Judgment shall be

entered accordingly.

       It is so ORDERED and DATED this 1st day of May 2024.



                                               /s/Ann Aiken
                                              _______________________

                                              Ann Aiken
                                              United States District Judge

      Page 1 of 1 – ORDER
